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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

JOSHUA STEPHENS,
      Plaintiff,
v.                                                 Case No. 4:23-cv-395-AW-MAF
FLORIDA STATE HOSPITAL, et al.,
     Defendants.
_______________________________/
                             ORDER OF DISMISSAL

      Joshua Stephens, a pro se inmate, initiated this case in September. ECF No. 1.

He has not submitted a filing fee or filed a proper IFP motion. After giving him

several opportunities to do so, the magistrate judge now recommends dismissal. ECF

No. 22. Stephens has filed no objection to the report and recommendation.

      I agree that dismissal is appropriate. I approve the recommendation and will

dismiss the case without prejudice. All motions are denied. Stephens has not shown

good cause for further extensions or for the appointment of counsel.

      The clerk will enter a judgment that says, “This case is dismissed without

prejudice for failure to pay the filing fee or file a proper IFP motion and for failure

to comply with court orders.” The clerk will then close the file.

      SO ORDERED on June 24, 2024.

                                        s/ Allen Winsor
                                        United States District Judge
